     Case: 3:21-cr-50008 Document #: 22 Filed: 09/21/21 Page 1 of 1 PageID #:129

                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )   Case No.: 21-CR-50008
                                                 )
SCOTT KOTESKI                                    )   Hon. Judge Iain Johnston

                                  JOINT STATUS REPORT

       The parties, by their attorneys, hereby submit the following joint status report pursuant to

the court’s September 21, 2021 order:

            1. The court, having granted Defendant’s motion to extend time to self-surrender, is
               advised that Defendant had been admitted to BOP’s FCI Terre Haute facility by
               the time the facility received a copy of the court’s very timely docket entry
               yesterday.

            2. Defendant thanks the court for its extraordinarily fast consideration of his motion,
               and also for granting his motion.

            3. Defendant’s wife understands that the government cannot agree to a furlough, and
               has advised undersigned counsel that Defendant wishes instead of filing a furlough
               motion, to serve his time at BOP beginning yesterday as previously ordered by the
               court.

            4. Undersigned counsel therefore proposes that the current docket entry of September
               20, 2021, as Defendant was already in BOP custody as previously ordered, stand
               as moot.
                                                                  Respectfully Submitted
                                                          By:     /s/ Brendan W. Caver
                                                                  Brendan W. Caver
                                                                  Attorney for Defendant

                                                                  /s/ AUSA Scott Paccaganini
                                                                  Attorney for the United States




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